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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                            Crim. No. 18-CR-32-2 (DLF)
               v.
                                            FILED UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



      GOVERNMENT’S RESPONSE TO CONCORD’S SUPPLEMENTAL BRIEF
              REGARDING ITS MOTION TO SHOW CAUSE

       The United States of America respectfully submits this response to the supplemental brief

filed by defendant Concord Management and Consulting LLC. Concord concedes (as it must)

that the Court has ample discretion in deciding whether to defer further proceedings on this

motion and in deciding whether any contempt referral or other sanctions are warranted. Concord

contends that the Court should nonetheless conduct proceedings immediately and impose

punitive sanctions on senior Department of Justice officials. Concord, however, offers no basis

for why such steps are appropriate.

       Concord assumes that a violation of Local Criminal Rule 57.7 occurred and offers no

convincing reason to believe that any violation was sufficiently willful or wanton to justify a

criminal contempt referral or other punitive sanctions. Concord correctly acknowledges that, at a

minimum, sanctions would be appropriate only if clear and convincing evidence established that

the government acted in bad faith—a burden that Concord does not seriously attempt to meet.

Concord also fails to grapple with the fundamental principal that courts should exercise their




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inherent authority with restraint and discretion and use tools such as punitive sanctions only

where necessary to maintain decorum or to protect the fairness of the proceedings.

       In all events, Concord offers no convincing reason why further proceedings should occur

before trial. Such proceedings would exacerbate any risk of prejudice by generating publicity on

the very matters that are alleged to have been prejudicial. Concord suggests that “punishment”

might somehow mitigate any prejudice that has already occurred, but Concord fails to explain

why “punishing” anyone would decrease, rather than increase, the risk of potential jurors

focusing on that purported prejudicial information.

       Indeed, Concord initiated this matter by alleging that by insufficiently shielding

information about the Special Counsel’s investigation, the government risked prejudicing

Concord’s right to a fair trial. But Concord now affirmatively seeks publicity on the very

matters that it previously alleged to be prejudicial. In contrast to the Special Counsel’s report

and Attorney General’s testimony, which addressed myriad issues, Concord would have this

Court publicly focus on the particular statements that Concord asserts most likely posed a

“reasonable likelihood” of prejudice and what (if anything) those statements added to the public

record. See L. Cr. R. 57.7(b). Concord also asks the Court to unseal the prior proceedings on

this issue. Supp. Br. 12-15. These positions call into question whether the handful of sentences

that Concord cited really did create a reasonable likelihood of prejudice. In any event, the focus

of these proceedings should be on ensuring a fair and expeditious criminal trial, not with

Concord’s conducting a public relations campaign.

       In sum, Concord’s motion to show cause should be denied, and any potential risk of

prejudice should be addressed through voir dire and an appropriate order issued under Local

Criminal Rule 57.7(c) to supplement the order issued on May 29, 2019. If the Court believes




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that further proceedings may be appropriate, the government respectfully suggests that the Court

defer those proceedings until after the conclusion of the trial in this case.

       A. The Court Should Defer Further Proceedings on the Defendant’s Motion.

       In the government’s view, no further proceedings on Concord’s motion to show cause are

warranted. But in all events, any further proceedings should take place after trial. Holding such

proceedings now would exacerbate any risk of prejudice by generating publicity on the very

matters that are alleged to have been prejudicial.

       Concord agrees (Supp. Br. 6) that the Court “ha[s] discretion to defer consideration” of

this motion but asserts that the Court should not do so because “leaving the government’s”

asserted “misconduct unpunished causes ongoing harm in the public and the jury pool.” This

argument fails at every turn. Initially, it is question begging to declare that any “punishment” is

warranted, as Concord offers no basis to believe that any possible violation of Local Criminal

Rule 57.7 was willful or warrants a punitive sanction.

       It is also illogical to declare that further proceedings—whether they be a criminal

contempt prosecution or briefing and a hearing on other sanctions—would prevent an “ongoing

harm” as Concord suggests (Supp. Br. 6). Concord declares that “inaction” is a “silent

endorsement” of the government’s limited release of information. Supp. Br. 7; accord Supp. Br.

9 (“apparent endorsement”). It is fanciful to believe that any prospective juror is focused on a

handful of statements about the Internet Research Agency and related matters from among all of

the information that has been released as part of the Special Counsel’s investigation; that any

prospective juror would believe that the absence of a sanction constitutes judicial “endorsement”;

that the effect of past statements would be different if the Court now declared that their release




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risked prejudicing Concord; and that any such action would be more effective or prudent than

conducting a careful voir dire.

       Concord’s suggestion (Supp. Br. 6) that the Court should address the “accura[cy]” of the

statements at issue only underscores that further proceedings would increase any risk of

prejudice. The government does not understand Concord’s suggestion of inaccuracy to bear on

its allegations of violating Local Criminal Rule 57.7 or on any applicable sanction. In the

government’s view, this motion should not be a vehicle for litigating the Special Counsel’s

conclusions or gathering more intelligence about how the government reached those conclusions.

But if “accura[cy]” were the subject of further proceedings, the government would then be asked

to provide further information about Concord, its alleged co-conspirators, and their activities—

perhaps without the limitations of admissibility of evidence that would apply in a trial. That is

not properly the subject of this collateral proceeding, and it certainly would not prevent any

“ongoing harm” to Concord. Nor are those prudent steps to take before a criminal trial. Indeed,

Concord’s view that these proceedings should be aimed at “the jury pool” (Supp. Br. 6) only

further counsels in favor of waiting until after a verdict before considering such steps.

       B. The Court Can (And Should) Decline To Initiate Contempt Proceedings.

       For the reasons set forth in its opposition to Concord’s motion to show cause and in its

supplemental brief, the government respectfully submits that it has not violated Local Criminal

Rule 57.7(b). Concord assumes (Supp. Br. 1, 9) that the Department’s redactions and other

statements were inconsistent with Rule 57.7(b), based on language in a Minute Order issued

before the May 29 hearing where the government had the opportunity to further address the issue

and to respond to arguments that Concord made for the first time in its reply brief. But if a

violation of the local rules occurred, that violation was unintentional and is not close to the kind




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of willful and wanton violation that would warrant criminal contempt proceedings or other

punitive sanctions. Concord concedes (Supp. Br. 9) that “the Court could decline to initiate a

contempt proceeding” but, in a filing written before the government briefed the issue, Concord

then faults the government for having “provided no reason” to do so. The government’s

supplemental brief explained why no basis exists for finding willfulness—a basic requirement of

criminal contempt, 18 U.S.C. § 402; In re Holloway, 995 F.2d 1080, 1082 (D.C. Cir. 1993); In re

Brown, 454 F.2d 999, 1007 (D.C. Cir. 1971). The government’s supplemental brief also

explained why, in any event, the alleged violation was not sufficiently wanton to justify a

criminal prosecution against government officials who shielded substantial information related to

this case but released a few statements that Concord claims may be prejudicial. Concord makes

no serious argument to the contrary and, notwithstanding its repeated use of the words

“contempt” and “punish,” has essentially walked away from its demand for criminal contempt.

       Concord instead now focuses on the Court’s “inherent authority to impose sanction upon

attorneys in a criminal case when necessary to maintain decorum and ensure the fair and efficient

resolution of its cases.” Supp. Br. 10; see id. at 9-11. But Concord does not explain why its

allegations of misconduct meet the high standard for such sanctions. As Concord acknowledges

(Supp. Br. 10), there must be “clear and convincing evidence” that a party “committed

sanctionable misconduct that is tantamount to bad faith.” Ali v. Tolbert, 636 F.3d 622, 627 (D.C.

Cir. 2011). 1 The government undertook an extensive process to prepare redactions, led by the



       1
         The cases that Concord cites (Supp. Br. 10-11) are in accord. See Shepherd v. ABC, 62
F.3d 1469, 1478 (D.C. Cir. 1995) (explaining that there must be “clear and convincing” evidence
and courts must act “with restraint and discretion”); United States v. Wallace, 964 F.2d 1214,
1218-19 (D.C. Cir. 1992) (“it is settled that a finding of bad faith is required for sanctions under
the court’s inherent powers” and even “negligent and careless” behavior “does not reach” lower
thresholds such as “recklessness”); Alexander v. FBI, 541 F. Supp. 2d 274, 304 (D.D.C. 2008)
(requiring finding of “bad faith”); United States v. Slough, 679 F. Supp. 2d 55, 60-61 (D.D.C.


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Office of the Deputy Attorney General, with substantial input from the Special Counsel’s Office,

relevant U.S. Attorney’s Offices (including the U.S. Attorney’s Office for the District of

Columbia), the National Security Division, members of the intelligence community, and experts

within the Department on professional responsibility obligations. The Department redacted

significant portions of the report discussing the conduct alleged in the Indictment in this case.

See, e.g., Report On The Investigation Into Russian Interference In The 2016 Presidential

Election, Volume I, at 4, 14-35. In preparing those redactions, the Department carefully

considered its obligations under Local Criminal Rule 57.7(b). No evidence—let alone clear and

convincing evidence—suggests that the Department acted in bad faith. 2

       Concord’s only attempt to suggest bad faith is its repeated observation (Supp. Br. 2-3 &

n.1, 4, 5 & n.3) that in a lawsuit under the Freedom of Information Act (“FOIA”), the

government redacted substantial material related to this case but did not defend those redactions

under FOIA Exemption 7(B), which protects material that “would deprive a person of a right to a

fair trial or an impartial adjudication.” 5 U.S.C. § 552(b)(7)(B). For redactions in the parts of

the report relevant to Concord, the government asserted Exemption 7(A), which protects material

that “could reasonably be expected to interfere with enforcement proceedings.” 5 U.S.C.

§ 552(b)(7)(A). The government asserted Exemption 7(A) throughout the parts of the report




2010 (“It is clear, however, that the court may exercise this authority only in extreme
circumstances.”) (discussing dismissal of indictment); see also In re Smothers, 322 F.3d 438,
442-43 (6th Cir. 2003) (where attorney repeatedly arrived late to court, appropriate approach was
“progressive discipline,” such as starting with a verbal warning).
       2
         Much of Concord’s complaint rests not with litigation conduct or the particular
government attorneys litigating this case, but with distinct acts of the Department. As suggested
in the government’s supplemental brief and as one of Concord’s principal authorities explains,
sovereign immunity would bar monetary sanctions against the government itself. See Alexander
v. FBI, 541 F. Supp. 2d 274, 300-01 (D.D.C. 2008); see also United States v. Horn, 29 F.3d 754,
763-67 (1st Cir. 1994).


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relevant to Concord based in part on Local Criminal Rule 57.7(b). See Gov. Mot. for S.J., at 21,

Electronic Privacy Information Center v. DOJ, No. 19-cv-810 (D.D.C. June 3, 2019) (Doc. 54);

Mot. Ex. 1, at 23, 25 (Brinkmann Decl.) (Doc. 54-3).

       More to the point, Local Criminal Rule 57.7 and FOIA Exemption 7(B) are not the same.

Local Criminal Rule 57.7(b)(1) prohibits release of information “if there is a reasonable

likelihood that such dissemination will interfere with a fair trial or otherwise prejudice the due

administration of justice.” L. Cr. R. 57.7(b)(1) (emphasis added). FOIA Exemption 7(B)

permits (but does not require) the government to shield law enforcement information that “would

deprive a person of a right to a fair trial or an impartial adjudication.” 5 U.S.C. § 552(b)(7)(B)

(emphasis added). Exemption 7(B) “prevent[s] disclosures from conferring an unfair advantage

upon one party to an adversary proceeding” and applies only when (1) “a trial or adjudication is

pending or truly imminent,” and (2) “it is more probable than not that disclosure of the material

sought would seriously interfere with the fairness of those proceedings.” Wash. Post Co. v.

Dep’t of Justice, 863 F.2d 96, 101-02 (D.C. Cir. 1988) (citation omitted). In light of this

difference, the government believed that asserting Exemption 7(A) rather than Exemption 7(B)

was the appropriate position to take with respect to the redactions of the report relevant to

Concord in the FOIA litigation. Regardless of Concord’s apparent disagreement with those

judgment calls, the government’s use of particular exemptions when responding to a FOIA

request does not mean that the Department wholly (and in bad faith) ignored Local Criminal

Rule 57.7(b).

       Concord has argued that the Department’s position in the FOIA litigation supports a

finding of bad faith here because the Department invoked Exemption 7(B) in defending the

redactions in the report related to United States v. Roger Stone, No. 19-CR-18. That is not so.




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As explained in the government’s brief in the FOIA case (and discussed at the May 28 hearing in

this case), when the government asserted Exemption 7(B) over information related to Stone, the

government considered, inter alia, the upcoming trial date in Stone and the specific orders

entered in Stone. See Doc. 54, at 23-26; Doc. 54-3 at 27-28; see also Doc. 54, at 53-54 (arguing

that the orders in the Stone case act as an injunction); Doc. 54-1, at 45 (similar). Concord calls

this argument “inane” because it says that “regardless of the gag order the government was

prohibited by the same local rule it violated here from making public statements in the Stone

case.” Supp. Br. 5. That is also not so. As the government explained at the May 29 hearing (in

response to an argument that Concord raised for the first time in its reply brief), an order has

been entered in the Stone case that is significantly more restrictive than Local Criminal Rule

57.7(b). See Minute Order Dated Feb. 21, 2019, United States v. Roger Stone.

       In any event, inherent sanction authority must be used “with restraint and discretion.”

Shepherd v. ABC, 62 F.3d 1469, 1478 (D.C. Cir. 1995); see Chambers v. NASCO, Inc., 501 U.S.

32, 44-46 (1991); Roadway Express v. Piper, 447 U.S. 752, 764-67 (1980). And as Concord’s

description of that power acknowledges, sanctions should be used only when they are

“necessary” to maintaining control over the litigators. See Supp. Br. 10. This is not an example

of an irresponsible attorney who refuses to abide by court orders or flouts court rules. The

government is entitled to a presumption of good faith, see United States v. Armstrong, 517 U.S.

456, 464 (1996), and takes seriously its obligations to the Court, the defendant, and the

applicable rules. The government appreciates the concerns raised by the Court and has

communicated those concerns to Department leadership. The Department will exercise

significant caution moving forward. No punitive sanction is warranted.




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       C. The Government Does Not Oppose An Order Under Local Rule 57.7(c).

       The government does not oppose an order in this case further restricting extrajudicial

statements of parties and attorneys under Local Rule 57.7(c).

       Rather than request such an order, Concord instead argues for more publicity, asking

(Supp. Br. 12-15) the Court to unseal the filings and transcript related to this matter. The

government recognizes the importance of conducting judicial proceedings in public view. The

government also recognizes the compelling interest in protecting the integrity and fairness of

criminal proceedings and the difficulties that can arise in cases that garner substantial public

attention. See Gentile v. State Bar of Nevada, 501 U.S. 1030, 1070-75 (1991); Sheppard v.

Maxwell, 384 U.S. 333, 363 (1966); United States v. Brown, 218 F.3d 415, 428 (5th Cir. 2000);

Application of Dow Jones & Co., Inc., 842 F.2d 603, 611-12 (2d Cir. 1988). As discussed,

publicity may exacerbate the very risks of prejudice that Concord claims to have triggered Local

Criminal Rule 57.7. The Court directed the parties to address three discrete issues, and this filing

is not the proper forum to begin a new round of briefing about other issues, such as unsealing

court documents. It is also exceedingly difficult to evaluate the risks of unsealing these matters

while they remain ongoing. The government respectfully suggests that once the Court

determines how this matter will proceed, the parties should then file supplemental briefs about

unsealing the relevant briefs and transcript(s).



                                       Respectfully submitted,


JOHN C. DEMERS                                                JESSIE K. LIU
Assistant Attorney General for National Security              United States Attorney

By: /s/                                                       By: /s/
Heather N. Alpino                                             Jonathan Kravis


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                             CERTIFICATE OF SERVICE

I hereby certify that on June 12, 2019, I caused a copy of the foregoing filing to be

transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord

Management and Consulting LLC, via email.

                                                      By: /s/
                                                      Jonathan Kravis
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